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  IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                 CENTRAL DIVISION
 WENDI L. RUSSELL,                                       COMPLAINT
                                                   (JURY TRIAL DEMANDED)
               Plaintiff,

        v.
                                                    Case: 2:20-cv-00103
                                                    Assigned To : Waddoups, Clark
 PARALLON ENTERPRISES, LLC,
                                                    Assign. Date : 2/18/2020
                                                    Description: Russell v. Parallon Enterprises
               Defendant.                     Ho

              COMES NOW, Wendi L. Russell, Plaintiff herein, complains of

Defendant Parallon Enterprises, LLC, demands trial by jury and, as and for causes of

action, alleges as follows:

                                       PARTIES

              1.     Plaintiff Wendi L. Russell (hereinafter "Plaintiff') is a citizen of

the United States and a resident of the State of Utah.

              2.      The entity named as Defendant herein is Parallon Enterprises,

LLC. At all times relevant hereto, Parallon Enterprises, LLC (hereinafter
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"Defendant"), employed 15 or more employees and was an employer within the

meaning of the Americans with Disabilities Act.

              3.     On September 6, 2017, Plaintiff filed a Charge of Discrimination

with the Utah Labor Commission's Antidiscrimination and Labor Division in which

she alleged that Defendant discriminated against her based on her disability and

engaged in unlawful acts of retaliation.

              4.     Plaintiff filed her Charge of Discrimination within 180 days from

the last date of the alleged harm. The Court may consider for its determination all

events that occurred between May 18, 2017, the 180-day jurisdictional mark, and the

date of filing of September 6, 2017. The Court may treat all other events occurring

prior to May 18, 2017 as being untimely for purposes of relief. However, the Court

may give weight to evidence of such events for evidentiary purposes. All jurisdictional

requirements have been met as required by the Americans with Disabilities Act

("ADA"), as amended.

                            JURISDICTION AND VENUE

              5.     The Court has subject matter jurisdiction of this case pursuant to

federal question. Plaintiff alleges Defendant took adverse action against her, in

violations of the ADA, which provides that it is unlawful to discriminate against an




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employee in her employment on the basis of her disability and to retaliate against an

employee for engaging in protected activity.

                 6.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 in

that the claims arose in the State of Utah, Parallon Enterprises, LLC, employed Ms.

Russell in the State of Utah; all of the employment practices alleged herein occurred

within the State of Utah; and the relevant employment records are maintained in the

State of Utah.

                                STATEMENT OF FACTS

                 7.    Plaintiff incorporates by this reference all allegations listed in

paragraphs 1 through _       above as if alleged in full herein.

                 8.    Plaintiff alleges that she has several impairments, including bi-

polar disorder, post-traumatic stress syndrome (PTSD), borderline personality disorder,

and depression.

                 9.    Defendant hired Plaintiff in March 2012 as a Pre-registration

Representative. Plaintiffs duties consisted of scheduling patients for medical

procedures, verifying insurance coverage, and pre-registering patients.

                 10.   Plaintiff alleges she informed Defendant of her mental

impairments at various times and in various ways.




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              11.    Plaintiff alleges that the symptoms of her conditions became

aggravated upon the death of her husband in August 2016. Plaintiff alleges the,

thereafter, she experienced difficulties in regulating her emotions and struggled with

concentration, thinking and speaking coherently and in working.

              12.    Plaintiff alleges that, in November 2016, she requested an

accommodation to allow her to work a ten-hour-day-four-day work week in lieu of the

conventional eight-hour day, five-day workweek. Plaintiff alleges she needed the

change in schedule to deal with matters surrounding her late husband's passing and its

deleterious effect in mental impairments.

              13.    Plaintiff alleges that Defendant failed to respond to such a request

for accommodation.

              14.    Plaintiff alleges that, as a result of such failure to respond and

other factors, Plaintiff temporarily became unable to work in a productive manner.

              15.    Plaintiff alleges that, in December 2016, Plaintiff applied for a

leave of absence. She alleges that, during such leave of absence, she applied for and

received short-term disability insurance benefits ("STD").

              16.    Plaintiff alleges that, on April 21, 2017, she returned to work.




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              17.    Plaintiff alleges that, upon her return to work on April 21, 2017,

her management closely followed her activities and micro managed her work,

disrespected her and yelled at her.

              18.      Plaintiff alleges she complained to Human Resources

Administrator Dorene Nelson several times about not being accommodated and being

treated differently and adversely based on her disability but Defendant did little, if

anything, to address her complaints.

              19.      Plaintiff alleges that, thereafter, Defendant began looking for

reasons to terminate her employment.

              20.      For example, Plaintiff alleges that, in May 2017, she was assisting

a patient register for a procedure when she realized the patient she was speaking to was

her uncle. Plaintiff acknowledges that she was aware that, based on Defendant's

policy and her familial relationship with the patient, she was supposed to transfer the

patient to a co-worker. However, she alleges she knew her uncle would not willingly

cooperate with any other representative and would get frustrated and combative and,

therefore, she decided to handle the call.

              21.      Plaintiff alleges that her uncle had questions regarding an

upcoming procedure. She alleges she contacted the medical provider to ask questions

about the procedure.


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              22.    Plaintiff alleges that, on June 23, 2017, Defendant issued her a

final written warning for her actions, as summarized above in ,r,r 18 and 19.

              23.    Plaintiff alleges that, on June 28, 2017, Defendant placed her on a

performance improvement plan ("PIP") because Defendant alleged her productivity

rate was low. Plaintiff alleges that her productivity rate was not low and that

Defendant imposed unreasonable standards that no one could realistically meet.

              24.    To help her achieve standards, the PIP scheduled Plaintiff for

training with the Team Lead to occur on July 7, 2017. The PIP also required Plaintiff

to meet with her manager once a week to review her progress.

              25.    Plaintiff alleges that, on the evening of June 28, 2017, she called

her friend and co-worker Becky Beagley ("Beagley"). Plaintiff alleges that she

contacted Beagley to discuss work related matters. Plaintiff also felt that Beagley was

talking about her because of the amount of time Plaintiff had taken off due to death of

her husband. Plaintiff acknowledges she left a voicemail for Beagley that contained

language she should not have used.

              26.    On July 3, 2017, Defendant terminated Plaintiffs employment.

              27.    Plaintiff alleges the reason for the termination was pretextual in

that the real reason for the termination had to do with her disability and her protected

activity.


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                                 CAUSES OF ACTION

                           FIRST CAUSE OF ACTION
                       DEFENDANT DENIED PLAINTIFF A
                       REASONABLE ACCOMMODATION

              28.    Plaintiff incorporates by this reference all allegations listed in

paragraphs 1 through 27 above as if alleged in full herein.

              29.    In order to establish a claim of failure to accommodate, Plaintiff

must allege facts which establish, or tend to establish, that: (1) she has a physical or

mental impairment that substantially limits one or more of the major life activities; (2)

she was qualified in that she was able to perform the essential functions of the job she

held or desired, with or without a reasonable accommodation; (3) she requested a

reasonable accommodation or Defendant knew, or should have known, of her need for

an accommodation; and (4) Defendant refused or declined or, in any event, failed to

provide a reasonable accommodation. Sanchez v. Vi/sack, 695 F.3d 1174, 1177 (10 th

Cir. 2012).

              30.    To establish the first element of her prima facie case, Plaintiff

alleges that she has a physical or mental impairment that substantially limits one or

more of the major life activities.

              31.     Plaintiff has the impairments of bi-polar disorder, PTSD,

borderline personality disorder, and depression.


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              32.    In August 2016, Plaintiffs husband passed away which

exacerbated her conditions, causing her difficulty in regulating her emotions, difficulty

in concentrating, thinking and speaking coherently and working and a sense of panic.

              33.    Plaintiffs allegations satisfy the first element of her prima facie

case.

              34.    To establish the second element of her prima facie case, Plaintiff

alleges that she was qualified in that she was able to perform the essential functions of

the job she held or desired, with reasonable accommodation.

              35.    Plaintiffs allegations satisfy the second element of her prima facie

case.

              36.    To establish the third element, Plaintiff alleges that she requested

reasonable accommodations or Defendant knew or should have known of her need for

accommodations. In December 2016, Plaintiff requested an accommodation that

would allow her to work four, ten-hour shifts per work week. Likewise, Plaintiff

requested a leave of absence and short-term disability in December 2016.

              37.    Plaintiffs allegations satisfy the third element of her prima facie

case.

              38.    To establish the final element, Plaintiff alleges that Defendant

refused to provide her with a reasonable accommodation. Plaintiff requested a four-


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day workweek because of her disability and because she needed to handle her late

husband's estate. Upon clarification from Plaintiff's physician, it was determined that,

based on Plaintiff's disability, she could benefit from a four day workweek. Defendant

did not approve the accommodation in a timely manner and so Plaintiff needed to

request an accommodation of a leave of absence and went out on a leave of absence

from December 31, 2016, to April 21, 2017.

              39.    Plaintiff's allegations satisfy the final element of her prima facie

case of failure to accommodate.

                    SECOND CAUSE OF ACTION
          DEFENDANT'S DECISION TO TERMINATE PLAINTIFF'S
          EMPLOYMENT WAS MOTIVATED BY HER DISABILITY

              40.    Plaintiff incorporates by this reference all allegations listed in

paragraphs 1 through 39 above as if alleged in full herein.

              41.    In order to establish a claim of discrimination based on disability,

Plaintiff must allege facts which establish, or tend to establish, that: (1) she is disabled

in that she is has a physical or mental impairment which is substantially limiting to a

major life activity; (2) she was otherwise qualified for the position in that she could

perform the essential duties of the position she held or desired, with or without

reasonable accommodation; (3) Defendant subjected her to an adverse action; and (4)

the circumstances surrounding the adverse action give rise to an inference of


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discrimination on the basis of disability. McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802 (1973).

              42.    As set forth above, Plaintiff's allegations satisfy the first and

second elements of her prima facie case.

              43.    To establish the third element, Plaintiff alleges that Defendant

subjected her to an adverse action. An adverse employment action includes

"significant change in employment status, such as hiring, firing, failing to promote,

reassignment with significantly different responsibilities, or a decision causing a

significant change in benefits". Piercy v. Maketa, 480 F.3d 1192, 1203 (10 th Cir.

2007) (internal quotation omitted).

              44.    In June 2017, Defendant placed Plaintiff on a PIP supposedly

based on low productivity and low quality assurances statistics. The PIP called for

improvement in performance standards by meeting productivity standards at 90% and

assurance standards at 95%. To help Plaintiff achieve productivity standards,

Defendant scheduled training with the Team Lead and required Plaintiff to meet with

her manager once a week to review progress. A PIP is actionable as an adverse action

if it "affects a significant change in the plaintiff's employment status". Haynes v. Level

3 Commc'ns L.L.C., 456 F.3d 1215, 1224 (10 th Cir. 2006). Plaintiff alleges this PIP




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brought about significant changes in her employment status. Thus, Plaintiff alleges her

placement on a PIP is an adverse employment action.

              45.    On July 3, 2017, Defendant terminated Plaintiff's employment.

Plaintiff alleges this is also an adverse employment action.

              46.    Plaintiff's allegations satisfy the third element of her prima facie

case.

              47.    To establish the final element, Plaintiff alleges that the

circumstances surrounding the adverse actions give rise to an inference of

discrimination. Potential circumstances that give rise to discrimination include, but are

not limited to: (1) disparate treatment which but for the employee's protected trait

would be different, International Union v. Johnson Controls, Inc., 499 U.S. 187, 200

(1991); or (2) evidence that the protected trait actually motivated the employer's

decision. Phillips v. Martin Marietta Corp., 400 U.S. 542, 544 (1971).

              48.    Plaintiff alleges her disability and actions caused by her disability

directly brought about the termination of her employment.

              49.    Plaintiff's allegations establish the final element of her prima facie

case of discrimination on the basis of disability.

                          THIRD CAUSE OF ACTION
                      DEFENDANT SUBJECTED Plaintiff TO
                          UNLAWFUL RETALIATION


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              50.    Plaintiff incorporates by this reference all allegations listed in

paragraphs 1 through 49 above as if alleged in full herein.

              51.    In order to establish a claim of retaliation, Plaintiff must allege

facts which establish, or tend to establish, that: (1) she engaged in protected opposition

to discrimination; (2) contemporaneous with or subsequent to the protected activity,

Defendant subjected Plaintiff to an adverse employment action; and (3) there is a

causal connection between the protected activity and the adverse employment action.

See Argo v. Blue Cross and Blue Shield of Kansas, Inc., 452 F.3d 1193, 1202 (10 th Cir.

2006) (citing Burlington N & Santa Fe Ry. Co. v. White, 126 S.Ct. 2405, 2414-15

(2006)).

              52.    Plaintiff alleges that she engaged in protected activity. In

December 2016, Plaintiff requested a reasonable accommodation. The Tenth Circuit

Court has held that requests for reasonable accommodation are protected activity under

the ADA. See Wehrley v. American Fam. Mut. Ins. Co., 513 F. App'x 733, 740 (10th

Cir. 2013) (citing Jones v. UP.S., Inc, 502 F.3d 1176, 1194 (10 th Cir. 2007)). Plaintiff

also complained to Defendant about how Defendant was mistreating her because of her

disability.

              53.    Plaintiffs allegations satisfy the first element of her prima facie

case.


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              54.    Plaintiff alleges that, contemporaneous with or subsequent to the

protected activity, Defendant subjected her to an adverse employment action. An

adverse action is any adverse treatment that is based on a retaliatory motive and is

reasonably likely to deter Plaintiff or others from engaging in a protected activity.

              55.    Plaintiff alleges Defendant's placement of her on a PIP and

termination of her employment on July 3, 2017, are adverse employment actions.

              56.    Plaintiff's allegations satisfy the second element of her prima facie

case.

              57.    Plaintiff alleges that there is a causal connection between the

protected activity and the adverse employment actions. Plaintiff's disabilities affected

her behavior. Plaintiff's alleged violation of Defendant's Code of Conduct policy was

a pretextual reason for the termination. Had Defendant accommodated Plaintiff, she

likely would have performed better than she did, she likely would not have been placed

on a final warning on a PIP, and likely would not have been fired.

              58.    Plaintiff's allegations satisfy the final element of her prima facie

case.

                                    IV. DAMAGES




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              59.    Ms. Russell alleges Defendant's actions and inactions have caused

her various losses, injuries and other damages, including lost wages, lost benefits,

financial stress, emotional distress, and damages to her employability.

                              V. RELIEF REQUESTED

              Accordingly, based on the above allegations, claims and damages,

Plaintiff requests the following relief, specifically an Order and Judgment:

              1.     Declaring that Defendant discriminated against Ms. Russell on the

                     basis of her disability and retaliated against her, in violation of the

                     ADA;

              2.     Awarding Ms. Russell "make whole" relief- namely, by

                     awarding Ms. Russell the lost wage and lost benefit differential

                     from the time Defendant terminated Ms. Russell's employment

                     until Ms. Russell secures comparable employment, or for a period

                     of five years, whichever occurs first;

              3.     Awarding Ms. Russell her reasonable attorney's fees and costs;

              4.     Awarding Ms. Russell such other relief as may be just and

                     equitable.

              DATED this    if-- day of February, 2020.


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